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IN THE UNITED sTATEs DIsTRIcT coURT mm BY __ oc_
FoR THE wEsTERN DISTRICT OF TENNESSEEOS '
WESTERN DIVISION JUL 15 p" iv as

 

JOHNNY LEE BURROS,
Plaintiff,
vs. No. 05-2400-Ml/V

MADISON COUNTY, et al.,

Defendants.

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ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 1406(6.)

 

Plaintiff Johnny Lee Burross, Tennessee Department of
Correction prisoner number 214034, an inmate at the West Tennessee
State Penitentiary (“WTSP”) in Henning, Tennessee, filed a pro §§
complaint pursuant to 42 U.S.C. § 1983 on May 26, 2005, along with
an inmate trust fund account statement. Because this case is being
transferred, the filing fee issue should be addressed, by the
transferee court.

Twenty-eight U.S.C. § l39l(b) authorizes the commencement
of a civil action only in a judicial district

(l) where any defendant resides, if all defendants reside
in the same State, (2) a judicial district in which a
substantial part of the events or omissions giving rise to
the claim occurred . . . , or (3) a judicial district in
which any defendant may be found, if there is no district
in which the action may otherwise be brought.

This claim has no connection with the Western Division of

this district apart from the fact that the Plaintiff is currently

incarcerated within this division, a fact that has no bearing on the

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with ama 53 and/or re(a) FHCP on 12 '/BB;LLS

 

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proper venue for this action. All the Defendants can apparently be
found in Madison County, and the allegedly wrongful acts occurred in
Madison County. Madison County is in the Eastern Division of the
Western District of Tennessee. 28 U.S.C. § l23(c)(l). Accordingly,
the Complaint asserts no basis for venue in the Western Division of
this district.
Twenty-eight U.S.C. § l406(a) states:
The district court of a district in which is filed a case
laying venue in the wrong division or district shall

dismiss, or if it be in the interest of justice, transfer

such case to any district or division in which it could
have been brought.

For the reasons stated, this action should have been brought in the
Eastern Division of this district. 28 U.S.C. § 123(c)(l). Therefore,
it is hereby ORDERED, pursuant to 28 U.S.C. § l406(a), that this case

is TRANSFERRED, forthwith, to the Western District of Tennessee,

Eastern Division.

:T le so omERED this I@ day of Ju%, 2005.

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JON PHIPPS MCCALLA
TED STA'I‘ES DISTRICT JUDGE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02400 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

JOhnny L. Burr()ss

WEST TENNESSEE STATE PRISON
P.O. BOX l 150

Henning, TN 38041

Honorable Jc)n McCalla
US DISTRICT COURT

